FAIRCLOTH, C. J., and DOUGLAS, J., dissenting.
The Code, sec. 1005, makes it a misdemeanor for any one to carry a concealed weapon, except when on "his own premises," and *Page 404 
provides that if any one "not being on his own lands" shall have about his person a deadly weapon of the kind enumerated in the statute, such possession is prima facie evidence of concealment. Certain classes of persons, as soldiers, certain officers on official duty, c., are exempted from the operation of the statute. The use of the words "on his own premises" and "not being on his own land," shows an intention to restrict the right to carry concealed weapons to those who are in the privacy of their own premises where they are not likely to be thrown in contact with the public nor tempted on a sudden quarrel to use, to the detriment of others, the great advantage a concealed weapon gives to one who unexpectedly pulls it out upon his defenseless neighbor. In construing a criminal statute the evil to be remedied must be considered.
S. v. Terry, 93 N.C. 585, holds that "on his own premises" does not require that the person shall have legal title to the land, but that any one in possession as a tenant, or even as an overseer or agent, would have the same right as the owner. This is because he is in possession as the representative of the owner and with his rights. But it was never (582) intended by that decision to extend the constructive possession to the superintendent of a public turnpike nine miles long. Even were the turnpike the property of the defendant, still as he has thrown it open to the public and invited their use of it, it is not "his own premises" in the sense of the statute, which hangs not upon the legal title (S. v. Terry, supra), but upon the right of the person to treat it as "in his possession" and who, therefore, is privileged to keep other persons off and to carry concealed weapons thereon. He can carry weapons openly thereon like any one else who desires to do so. The statute never intended that railroad and turnpike superintendents and presidents and vice-presidents and others having supervision of like property should be placed on a different footing from other citizens (not officers on duty, etc.). The statute clearly does not contemplate that in the crowded cars and thorough fares the corporation officials shall have leave to carry concealed weapons about their persons while all other citizens traveling thereon dare not do the same under fear of criminal punishment. "On their own premises" and "on their own lands" do not apply to officials of such corporations as invite the public to use their lines of travel. The stockholders themselves are not authorized to carry concealed weapons when on the cars or right of way of a railroad or turnpike, and certainly their overseer or superintendent can have no greater right in this respect. Neither stockholders nor their overseers nor agents have any more right to carry concealed weapons thereon than any one else, and there is no reason they should. The reasoning in S.v. Terry, supra, rested not upon the person being an overseer or superintendent, but upon his being in possession in lieu of the owner, and hence it was held that Terry, a mere *Page 405 
farm laborer, having no possession, was guilty in carrying the (583) concealed weapon on his employer's farm. The illegality of carrying concealed weapons is the rule, and the exception as to officers on duty is for manifest reasons, and the exception as to a person "on his own premises" is for reasons above given. If the defendant had merely been occupying a part of the turnpike company's land for his residence, as to such lot and its curtilage he was a tenant, and as to them he was "on his own premises" and privileged to carry a concealed weapon thereon. But the defendant's counsel argued the case on the ground that the special verdict intended to raise the question of the defendant's right to carry a concealed weapon anywhere upon the turnpike property, nine miles in length, upon the ground that he is superintendent of the property and has a residence upon a small part thereof, and we so understand it. As to that part of the property beyond what he occupies as a residential lot, the defendant is not "on his own premises" within the purport of the statute, and has no more privilege to carry a concealed weapon than the public, who have as much right thereon, as a public highway, as himself. A road overseer has no more right to carry concealed weapons than the hands who work under him, yet while working the road he is superintendent of it in the same sense that the defendant is superintendent of the turnpike.
No error.